 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 1 of 9 Page ID #:1



 1   ASCENSION LAW GROUP
     PAMELA TSAO (266734)
 2   12341 Newport Ave., Suite B200
     North Tustin, CA 92705
 3   PH: 714.783.4220
     FAX: 888.505.1033
 4   Pamela.Tsao@ascensionlawgroup.com
 5   Attorneys for Plaintiff JOHN HO
 6

 7

 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   JOHN HO, an individual                   Case No.: 2:22-cv-8166
12              Plaintiff,                    COMPLAINT FOR
13        vs.
                                                 (1) VIOLATION OF THE UNRUH
14   T.H. VICTORIA STORES, LLC, a                    CIVIL RIGHTS ACT
     limited liability company
15                                                   (CALIFORNIA CIVIL CODE
                Defendants.                          §§ 51, 52);
16
                                                 (2) VIOLATIONS OF THE
17                                                   AMERICANS WITH
18                                                   DISABILITIES ACT OF 1990

19

20

21

22

23

24

25

26

27

28

                                       COMPLAINT
                                       2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 2 of 9 Page ID #:2



 1                                               I.
                                              SUMMARY
 2

 3           1.    This is a civil rights action by plaintiff John Ho (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located 9664 Las Tunas Dr,
 6   Temple City, CA 91780-2139, Los Angeles County, where the business “Goldem
 7   Deli” operates (the “Property”). Plaintiff frequents the area for dining, shopping and
 8   entertainment as he lives approximately 10 minutes from the Property. In this
 9   particular instance, Plaintiff desired to patronize the “Golden Deli” restaurant located
10   on the property.
11           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
12   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
13   12101, et seq.) and related California statutes1 against the owner of the property T.H.
14   VICTORIA STORES, LLC, a limited liability company (“Defendant”).
15                                                   II.
16                                         JURISDICTION
17           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
18   for ADA claims.
19           4.    Supplemental jurisdiction for claims brought under parallel California
20   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
21   1367.
22           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
23                                               III.
24                                              VENUE
25           6.    All actions complained of herein take place within the jurisdiction of the
26   United States District Court, Central District of California, and venue is invoked
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                    1
                                              COMPLAINT
                                              2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 3 of 9 Page ID #:3



 1
     pursuant to 28 U.S.C. § 1391(b), (c)
 2
                                                 IV.
 3
                                              PARTIES
 4
           7.       On information and belief, Plaintiff alleges that Defendant is or was at
 5
     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
 6
     consist of a person (or persons), firm, company, and/or corporation.
 7
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
 8
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
 9
     is “physically disabled” as defined by all applicable California and United States laws,
10
     and a member of the public whose rights are protected by these laws. Plaintiff is a
11
     resident of Los Angeles County, California. Plaintiff is considered a high frequency
12
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
13
     the twelve months preceding the filing of this complaint, Plaintiff filed eighteen (18)
14
     other construction accessibility related claims (not including this one).
15
                                                 V.
16
                                                FACTS
17
           9.       On March 6, 2022, Plaintiff patronized the Property. The Property is a
18
     sales or retail establishment, open to the public, which is intended for nonresidential
19
     use and whose operation affects commerce.
20
           10.      Plaintiff visited the Property and encountered barriers (both physical and
21
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
22
     enjoy the goods, services, privileges and accommodations offered at the facility. To
23
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
24
     to the following:
25

26               a. Parking spaces designated as accessible and accompanying access aisles
27                  have slopes and/or cross slopes that exceed 2.0%. Without a level
28                  parking space, it is difficult for Plaintiff to unload/transfer from a vehicle
                                                     2
                                             COMPLAINT
                                             2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 4 of 9 Page ID #:4



 1                   as his wheelchair rolls.
 2                b. To access the sidewalks and stores, Plaintiff must traverse up a built-up
 3                   curb ramp that is too steep. To the extent that the curb ramp is intended
 4                   to be a ramp, it does not have the necessary railings for Plaintiff to safely
 5                   maneuver up and down.
 6
            11.      These barriers to access are listed without prejudice to Plaintiff citing
 7
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
 8
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 9
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
10
     Property.
11
            12.      Plaintiff thus experienced difficulty and discomfort as a result of the
12
     accessible barriers he encountered. Although he would like to return to the Property
13
     to patronize the convenience store at the Property, he continues to be deterred from
14
     visiting the Property because of the future threats of injury created by these barriers.
15
     Plaintiff often frequents the area as he lives close to the Property. Plaintiff would
16
     return to the Property once the barriers have been corrected because the restaurant is
17
     located close to his home. Plaintiff would also return to the Property once the barriers
18
     are corrected to ensure that the barriers have been properly remediated.
19
            13.      On information and belief, Plaintiff alleges that Defendant knew that
20
     these elements and areas of the Property were inaccessible, violate state and federal
21
     law, and interfere with (or deny) access to the physically disabled. Moreover,
22
     Defendant has the financial resources to remove these barriers from the Property
23
     (without much difficult or expense), and make the Property accessible to the
24
     physically disabled. To date, however, the Defendant refuses to remove those
25
     barriers.
26
            14.      On information and belief, Plaintiff alleges that at all relevant times,
27
     Defendant has possessed and enjoyed sufficient control and authority to modify the
28
                                                     3
                                                COMPLAINT
                                                2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 5 of 9 Page ID #:5



 1
     Property to remove impediments to wheelchair access and to comply with the
 2
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
 3
     Defendant has not removed such impediments and have not modified the Property to
 4
     conform to accessibility standards.
 5
        VI.      FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 6
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 7
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 8
                                        CODE SECTION 51(f)
 9
              15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
10
     14 for this claim and incorporates them herein.
11
              16.   At all times relevant to this complaint, California Civil Code § 51 has
12
     provided that physically disabled persons are free and equal citizens of the state,
13
     regardless of disability or medical condition:
14
              All persons within the jurisdiction of this state are free and equal, and
15
              no matter what their sex, race, color, religion, ancestry, national
16
              origin, disability, or medical condition are entitled to the full and
17
              equal accommodations, advantages, facilities, privileges, or services
18
              in all business establishments of every kind whatsoever. Cal. Civ.
19
              Code § 51(b).
20
              17.    California Civil Code § 52 provides that the discrimination against
21
     Plaintiff on the basis of his disabilities constitutes a violation of the anti-
22
     discrimination provisions of §§ 51 and 52.
23
              18.   Defendant’s discrimination constitutes a separate and distinct violation of
24
     California Civil Code § 52 which provides that:
25
              Whoever denies, aids or incites a denial, or makes any discrimination
26
              or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
27
              every offense for the actual damages, and any amount that may be
28
                                                    4
                                              COMPLAINT
                                              2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 6 of 9 Page ID #:6



 1
             determined by a jury, or a court sitting without a jury, up to a
 2
             maximum of three times the amount of actual damage but in no case
 3
             less than four thousand dollars ($4,000) and any attorney’s fees that
 4
             may be determined by the court in addition thereto, suffered by any
 5
             person denied the rights provided in Section 51, 51.5 or 51.6.
 6
             19.   Plaintiff continues to be deterred from visiting the Subject Property based
 7
     upon the existence of the accessible barriers. In addition to the instance of
 8
     discrimination occurring in March 2022, Plaintiff is entitled to $4,000.00 in statutory
 9
     damages for each additional occurrence of discrimination under California Civil Code
10
     § 52.
11
             20.   Any violation of the Americans with Disabilities Act of 1990 (as pled in
12
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
13
     thus independently justifying an award of damages and injunctive relief pursuant to
14
     California law. Per § 51(f), “[a] violation of the right of any individual under the
15
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
16
     section.”
17
             21.   The actions and omissions of Defendant as herein alleged constitute a
18
     denial of access to and use of the described public facilities by physically disabled
19
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
20
     result of Defendant’s action and omissions Defendant has discriminated against
21
     Plaintiff in a violation of Civil Code §§ 51 and 51.
22
                                                VII.
23
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
24
                    DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
25
             22.   Plaintiff incorporates the allegations contained in paragraphs 1 through
26
     21 for this claim and incorporates them herein.
27
             23.   As part of the Americans with Disabilities Act of 1990 (“ADA”),
28
                                                   5
                                            COMPLAINT
                                            2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 7 of 9 Page ID #:7



 1
     Congress passed “Title III – Public Accommodations and Services Operated by
 2
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
 3
     entities” which are considered “public accommodations” for purposes of this title,
 4
     which includes any “restaurant, bar, or other sales or rental establishment serving food
 5
     or drink.” § 301(7)(B).
 6
           24.    The ADA states that “[n]o individual shall be discriminated against on
 7
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations of any place of public accommodation by
 9
     any person who owns, leases, or leases to, or operates a place of public
10
     accommodation.” 42 U.S.C. § 12182.
11
           25.    The acts and omissions of Defendant set forth herein were in violation of
12
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
13
     Part 36 et seq.
14
           26.    On information and belief, Plaintiff alleges that the Property was
15
     constructed or altered after January 26, 1993 thus triggering requirements for removal
16
     of barriers to access for disabled persons under § 303 of the ADA. Further on
17
     information and belief, Plaintiff alleges that removal of each of the barriers
18
     complained of by Plaintiff as hereinabove alleged, were at all times herein mentioned
19
     "readily achievable" under the standards §§ 30 l and 302 of the ADA. As noted
20
     hereinabove, removal of each and every one of the architectural barriers complained
21
     of herein were also required under California law. In the event that removal of any
22
     barrier is found to be "not readily achievable," Defendant still violated the ADA, per§
23
     302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
24
     accommodations through alternative methods that were readily achievable.
25
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
26
     Property and as of the filing of this Complaint, the Defendant denies and continues to
27
     deny full and equal access to Plaintiff and to other disabled persons, including
28
                                                  6
                                           COMPLAINT
                                           2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 8 of 9 Page ID #:8



 1
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
 2
     access and which discriminate against Plaintiff on the basis of his disability, thus
 3
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
 4
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
 5
     of the ADA. 42 USC§§ 12182 and 12183.
 6
           28.     On information and belief, Defendant has continued to violate the law
 7
     and deny the rights of Plaintiff and other disabled persons to access this public
 8
     accommodation since on or before Plaintiff's encounters, as previously noted.
 9
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
10
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
11
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
12
     in violation of the ADA or has reasonable grounds for believing that he is about to be
13
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
14
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
15
     make such facilities readily accessible to and usable by individuals with disabilities to
16
     the extent required by this title."
17
           29.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
18
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
19
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
20
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
21
     to discrimination on the basis of disability in violation of Title III and who has
22
     reasonable grounds for believing he will be subjected to such discrimination each time
23
     that he may attempt to use the property and premises.
24
                                              PRAYER
25
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
26
     as follows:
27

28
                                                   7
                                            COMPLAINT
                                            2:22-CV-8166
 Case 2:22-cv-08166-JFW-JPR Document 1 Filed 11/08/22 Page 9 of 9 Page ID #:9



 1
        1. Issue a preliminary and permanent injunction directing Defendant as current
 2
     owner, operator, lessor, and/or lessee of the property and premises to modify the
 3
     above described property and premises and related facilities so that each provides full
 4
     and equal access to all persons, including but not limited to persons with physical
 5
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
 6
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
 7
     situated persons with disabilities, and which provide full and equal access, as required
 8
     by law, including appropriate changes in policy;
 9
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
10
     that Defendant unlawful policies, practices, acts and omissions, and maintenance of
11
     inaccessible public facilities as complained of herein no longer occur, and cannot
12
     recur;
13
        3. Award to Plaintiff all appropriate damages, including but not limited to
14
     statutory damages, general damages and treble damages in amounts within the
15
     jurisdiction of this Court, all according to proof;
16
        4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
17
     costs of this proceeding as provided by law;
18
        5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
19
     329
20
        6. Grant such other and further relief as this Court may deem just and proper.
21

22                                        ASCENSION LAW GROUP, PC

23     DATE: November 8, 2022

24                                                    /s/Pamela Tsao

25                                        Pamela Tsao, attorney for Plaintiff

26                                                      JOHN HO

27

28
                                                  8
                                           COMPLAINT
                                           2:22-CV-8166
